Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 1 of 18 PageID 10974




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

  DYNAMIC MOTION RIDES GMBH;
  and DYNAMIC MOTION GROUP
  GMBH,

        Plaintiffs,

  v.                                                 Case No. 6:21-cv-752-RBD-LHP

  UNIVERSAL CITY DEVELOPMENT
  PARTNERS LTD; UNIVERSAL CITY
  STUDIOS LLC; and UNIVERSAL
  STUDIOS, LLC,

        Defendants.
  ____________________________________

                                       ORDER

        Before the Court are Defendants Universal City Development Partners Ltd.,

  Universal City Studios LLC, and Universal Studios, LLC’s (collectively,

  “Universal”) motion for summary judgment (Doc. 110), Plaintiffs Dynamic

  Motion Rides GMBH and Dynamic Motion Group GMBH’s (collectively,

  “Plaintiffs” or “Dynamic”) motion for partial summary judgment (Doc. 118), and

  the parties’ motions to exclude expert testimony (Docs. 109, 111, 119, 120).

                                  BACKGROUND

        Universal owns and operates a theme park. (Doc. 63, ¶ 2.) In 2013, Universal

  entered into a contract with Dynamic Motion Rides GMBH (“Designer”) to design
Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 2 of 18 PageID 10975




  and build a new ride—Jimmy Fallon’s Race Through New York (“Attraction”).

  (Id. ¶ 1.) An affiliate of the Designer, Dynamic Motion Group GMBH (“Inventor”),

  provided the intellectual property (“IP”) for the Attraction. 1

         Universal and the Designer’s relationship is governed by the Master

  Purchase Agreement (“MPA”). 2 (Doc. 63-1.) The Inventor is not a signatory to the

  MPA, though the Inventor’s IP is referenced. (Id.)

         The MPA functioned through piecemeal work authorizations: Universal

  requested certain portions of work from the Designer and then paid the Designer

  for that portion of work once it was completed. (Id. at 11.) As portions of the work

  used the Inventor’s IP, the MPA provided Universal would be granted a

  “perpetual, irrevocable, transferable” license to use that IP “without any cost

  beyond the payments otherwise required” by the MPA or the applicable work

  authorization. (Id. at 51.)

         Toward the beginning of the parties’ relationship, the work authorizations

  focused on the conceptual design of the Attraction; later work authorizations (via

  scope change orders) tasked the Designer with beginning to build the Attraction.

  (Docs. 63-2, 63-3.) In 2014, the relationship went south as the parties disagreed on


         1  Confusingly, though Plaintiffs’ representative testified that the Inventor is the sole owner
  of the patents (Doc. 108-2, pp. 92:23–93:6), Plaintiffs also refer to themselves collectively as having
  rights to the IP, including patents. (See, e.g., Doc. 63, ¶¶ 4–5; Doc. 118, p. 2; Doc. 143, p. 21.)
  Regardless, the Court refers to the Inventor as the owner of the IP because that is the only role it
  plays in this dispute.
          2 The MPA is governed by Florida law. (Doc. 63-1, pp. 9, 33.)




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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 3 of 18 PageID 10976




  scope change orders and scheduling. (See, e.g., Doc. 141-13.) Universal complained

  the Designer took too long on designs, delaying the project, while the Designer

  countered that Universal kept changing the scope of work without following the

  MPA’s requirements, leaving the Designer scrambling to catch up. (Doc. 63, ¶ 55;

  Doc. 163, ¶¶ 9–11.)

        In August 2015, with the parties’ relationship at a breaking point, Universal

  sent the Designer a notice stating that it was going to terminate the relationship if

  the Designer did not cure certain alleged deficiencies. (See Doc. 141-13.) Per the

  MPA, Universal could terminate for cause if the Designer failed to perform; if

  Universal took this route, it had to give the Designer notice and five days to cure.

  (Doc. 63-1, p. 21.) Alternatively, the MPA also provides that Universal could

  terminate for convenience. (Id.) The Designer sent Universal a cure plan within

  five days, but Universal remained unsatisfied and terminated the MPA two

  months later. (Doc. 108-3, pp. 224:17–225:10; Doc. 141-18.) Universal then hired a

  third party to finish building the Attraction. (Doc. 63-4; Doc. 108-5, pp. 7:14–9:16.)

        The termination gives rise to this dispute: Universal maintains it terminated

  for cause, while the Designer argues it was for convenience. (Doc. 110, ¶ 7;

  Doc. 143, p. 8, ¶ 7.) These options trigger different payment obligations under the

  MPA. (Doc. 63-1, pp. 21–22.) If Universal terminates for cause and hires someone

  else, Universal is not required to pay the Designer any amounts outstanding on a



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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 4 of 18 PageID 10977




  work authorization (assuming it cost more to hire the third party than it would

  have cost for the Designer to perform). (Id. at 21.) But if Universal terminates for

  convenience, it must pay the Designer all amounts outstanding. (Id.)

         So each sued the other. The Dynamic side sued first: the Designer brought

  claims against Universal for breach of contract, breach of good faith and fair

  dealing, and account stated, 3 while the Inventor sued Universal for breach of third-

  party beneficiary contractual rights and breach of good faith and fair dealing. 4

  (Doc. 63, ¶¶ 185–209, 270–83.) Universal counterclaimed against the Designer for

  breach of contract and breach of good faith and fair dealing. (Doc. 162, ¶¶ 57–68.)

  Both sides now move for partial summary judgment and to exclude expert

  opinions. (Docs. 109–11, 118–20, 131, 132, 141, 143–45, 149, 153.) After a hearing

  (Doc. 183), the matter is ripe.

                                          STANDARDS

         I.      Summary Judgment

         Summary judgment is appropriate only “if the movant shows that there is

  no genuine dispute as to any material fact and the movant is entitled to judgment

  as a matter of law.” Fed. R. Civ. P. 56(a). The Court must view the evidence and



         3 Plaintiffs also sued for a permanent injunction, but the Court dismissed that Count with
  prejudice; nevertheless, Plaintiffs strangely included that Count in their amended pleading post-
  dismissal. It remains dismissed. (See Doc. 62; Doc. 63, ¶ 210.)
         4 Plaintiffs also sued the third party that completed the Attraction but later settled. (See

  Doc. 63, ¶¶ 220–69; Doc. 86.)


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 5 of 18 PageID 10978




  all reasonable inferences drawn from the evidence in the light most favorable to

  the non-movant. Battle v. Bd. of Regents for Ga., 468 F.3d 755, 759 (11th Cir. 2006).

  On cross-motions, “[t]he Court must consider each motion separately, resolving

  all reasonable inferences against the party whose motion is under consideration.”

  Koehler v. Waypoint Res. Grp., No. 8:18-cv-2071, 2019 WL 5722117, at *1 (M.D. Fla.

  Nov. 5, 2019). Then the Court must decide whether there is “sufficient

  disagreement to require submission to a jury.” Hickson Corp. v. N. Crossarm Co.,

  357 F.3d 1256, 1260 (11th Cir. 2004) (cleaned up).

         II.    Daubert

         Expert testimony may be admitted only if: “(1) the expert is qualified to

  testify . . . ; (2) the methodology by which the expert reaches his conclusions is

  sufficiently reliable . . . ; and (3) the testimony assists the trier of fact . . . .” Hendrix

  ex rel. G.P. v. Evenflo Co., 609 F.3d 1183, 1194 (11th Cir. 2010) (cleaned up); see also

  Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The proponent of the

  expert must establish the opinion is admissible by a preponderance of the

  evidence. See Kilpatrick v. Breg, Inc., 613 F.3d 1329, 1335 (11th Cir. 2010).

                                          ANALYSIS

         I.     Summary Judgment

                A.     The Inventor

         As a threshold matter, Universal argues that the Inventor’s claims are barred



                                                5
Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 6 of 18 PageID 10979




  in whole because the MPA expressly excludes third-party beneficiaries. (Doc. 110,

  p. 26.) The Court agrees.

         Where a contract is clear and unambiguous, it “should be construed as

  written, and the court can give [it] no other meaning.” Khosrow Maleki, P.A. v. M.A.

  Hajianpour, M.D., P.A., 771 So. 2d 628, 631 (Fla. 4th DCA 2000). “The contracting

  parties’ intent to benefit [a] third party must be specific and must be clearly expressed

  in the contract . . . .” Bochese v. Town of Ponce Inlet, 405 F.3d 964, 982 (11th Cir. 2005)

  (applying Florida law). If the contract does not intend to benefit the third party,

  the party is merely “an incidental beneficiary and has no rights.” Id.

         Here, in a provision titled “Third Party Beneficiary,” the MPA “confers

  certain rights, assignments, covenants and benefits (but no obligations) to the

  Protected Entities.” (Doc. 63-1, p. 34.) “Protected Entities” are defined to include

  only Universal affiliates, not affiliates of the Designer. (See id. at 8.) The provision

  concludes: “[T]here are no third party beneficiaries to this Agreement.” (Id. at 34.)

  So under a plain reading of the MPA, it expressly confers third-party beneficiary

  rights to Universal’s affiliates and expressly excludes anyone else from claiming

  such rights. (See id.) The Inventor is neither a party 5 to the MPA nor is it an affiliate


         5 The Inventor tries to muddy the waters by pointing to another provision in the MPA
  defining “Third Party,” which expressly excludes the Designer and its affiliates—meaning, the
  Inventor. (See Doc. 63-1, p. 6; Doc. 143, p. 21.) But the Third Party definition has no impact on the
  third party beneficiary provision, which does not reference the Third Party section at all and in
  fact does not use the capitalized form of “Third Party.” (Doc. 63-1, p. 34.) So while the Inventor is
  not a Third Party, it is also not a third-party beneficiary with rights to enforce the MPA. So this


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 7 of 18 PageID 10980




  of Universal—so the third-party beneficiary provision plainly disclaims any rights

  to the Inventor. (Id. at 9, 36); see, e.g., Wolf v. Celebrity Cruises, Inc., 683 F. App’x 786,

  798 (11th Cir. 2017) (stating that the contract did “not express an intent to benefit

  any third party—instead, it expressly state[d] the contrary”). This reading is

  further supported by the fact that the MPA in totality does not elsewhere confer

  any rights on the Inventor that would give the Inventor cause to sue under the

  contract to enforce them. 6 (See Doc. 63-1.) The Inventor was merely an “incidental

  beneficiary” to the MPA, not a third-party beneficiary with rights to sue. See

  Bochese, 405 F.3d at 981–82. So Universal is entitled to summary judgment on this

  issue, and the Inventor has no live claims moving forward.

         With that threshold matter resolved, the Court turns to the disputes between

  Universal and the remaining Plaintiff, the Designer.

                 B.     Notice

         Neither side moves for summary judgment on the issue of breach—rightly

  so, as that is a fact issue for the jury. (See Docs. 110, 118); See Homeward Real Est.,

  Inc. v. Shoubaki, 346 So. 3d 144, 148 (Fla. 2d DCA 2022). But the Designer argues

  that assuming it did breach, Universal wrongfully terminated the MPA by failing




  argument is a nonstarter.
          6 While the MPA provides that the Designer “will cause” the Inventor to grant Universal

  a license to use the Inventor’s IP where appropriate (Doc. 63-1, p. 51), this does not entitle the
  Inventor to sue either, and rather places obligations on the Designer—a signatory to the MPA.


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 8 of 18 PageID 10981




  to provide the requisite notice and opportunity for the Designer to cure. (Doc. 118,

  pp. 6–7.) The record belies this argument.

            The interpretation of a contract is a matter of law for the Court. Feaz v.

  Wells Fargo Bank, N.A., 745 F.2d 1098, 1104 (11th Cir. 2014) (applying Florida law).

  The sufficiency of legal notice pursuant to a contract is measured by “substantial

  compliance.” Megacenter US LLC v. Goodman Doral 88th Ct. LLC, 273 So. 3d 1078,

  1084 (Fla. 3d DCA 2019). Strict compliance with the technical requirements of a

  contractual notice provision is unnecessary if the other side receives actual notice.

  See id.

            In the event of the Designer’s breach, in order to terminate for cause, the

  MPA requires Universal to give the Designer written notice of the breach and

  allow five days to cure the deficiencies. (Doc. 63-1, p. 21.) The MPA provides

  certain technical requirements for written notices like including in the subject line:

  “Written Notice” in bold type, the date of the MPA, information about the work

  authorization order, paragraph number of the MPA or work authorization the

  notice concerns, and a description of the issue. (Id. at 10.)

            Here, there is no dispute that Universal sent the Designer a notice of

  noncompliance on August 19, 2015 (“Notice”), citing the Designer’s purported

  material breaches and requiring the Designer to provide a written plan to cure

  within five days. (See Doc. 141-13.) There is also no dispute that the Designer



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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 9 of 18 PageID 10982




  received that notice and treated it as effective, providing a cure plan by the five-

  day deadline. (Doc. 108-1, pp. 201:2–6, 203:16–17.) And there is no dispute that

  Universal terminated two months later. (Doc. 63-4.)

         The Designer’s argument is that the Notice omitted several technical

  requirements listed in the MPA for written notices like not including “Written

  Notice” in bold type. (Doc. 118, p. 6.) True, the Notice omits certain technicalities.

  (See Doc. 141-13.) But the Notice on its face alerted the Designer that it was in

  breach, was at risk of termination, and had five days to cure—so it substantially

  complied with the technical requirements of the MPA and gave actual notice to

  the Designer. (Doc. 63-1, p. 21; Doc. 141-13); 7 see Megacenter, 273 So. 3d at 1084. So

  Universal’s Notice complied with the MPA. (Docs. 63-4, 141-13.) Even if further

  analysis were needed, which it is not, the effectiveness of the Notice is further

  shown by the fact that the Designer responded within five days of receipt—

  demonstrating actual notice and exercising its right to (attempt to) cure. (Doc. 108-

  1, pp. 201:2–6, 203:16–17); see Megacenter, 273 So. 3d at 1084.

         So Universal provided the Designer with the notice and opportunity to cure

  required by the MPA. So the Designer’s motion is due to be denied on this issue.

  If the jury determines that the Designer was in breach, Universal’s notice and



         7Specifically, the subject line of the Notice read “Non-Compliance Notice” in bold type,
  included the date of the MPA and the work authorization number, and the body of the Notice
  included a summary of the alleged breaches. (Doc. 414-13.)


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 10 of 18 PageID 10983




  subsequent termination for cause will be effective.

               C.     License

        Universal argues that regardless of who breached, the MPA granted

  Universal a perpetual license to use the Inventor’s IP at the outset of the parties’

  relationship, so no further payments were required to secure that license.

  (Doc. 110, pp. 11–12.) But Universal’s interpretation is not supported by the MPA.

        Again, contract interpretation is a question of law, while breach is a question

  of fact. See Homeward, 346 So. 3d at 148; Access Ins. Planners, Inc. v. Gee, 175 So. 3d

  921, 924 (Fla. 4th DCA 2015).

        Here, the MPA provides the Designer will cause the Inventor to grant

  Universal a license to use the IP “without any cost beyond the payments otherwise

  required by [the MPA] or by any related Work Authorization.” (Doc. 63-1, p. 51

  (emphasis added).) Under the plain language of this provision, once Universal is

  granted a license to use a portion of the IP, that license is irrevocable—but the

  question remains, has Universal been granted a license for the IP for which there

  are outstanding payments due on a work authorization order? Universal’s

  misreading would grant it a license regardless of whether it paid what it was

  required to pay—rendering the last clause of the sentence superfluous. See PNC

  Bank, N.A. v. Progressive Emp. Servs. II, 55 So. 3d 655, 658 (Fla. 4th DCA 2011) (“[An]

  interpretation which gives a reasonable meaning to all provisions of a contract is



                                            10
Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 11 of 18 PageID 10984




  preferred to one which leaves a part useless or inexplicable.” (cleaned up)). The

  full provision must be given effect: Universal has a license to use the IP so long as

  it satisfies all required payments. (Doc. 63-1, p. 21.) But whether Universal is

  required to pay on the outstanding work authorization turns on a factual dispute:

  whether the Designer breached. If the Designer breached, then Universal was

  permitted to terminate for cause—maintaining the IP license without 8 further

  payment; but if the Designer did not breach, then Universal’s termination was for

  convenience—meaning Universal must pay on that outstanding authorization and

  the license to use that portion of the IP. (Doc. 63-1, p. 51; Doc. 110, pp. 11–12;

  Doc. 118, pp. 11–12.) Breach is a fact-intensive inquiry for the jury so summary

  judgment on whether Universal has a license is inappropriate. See Ice Portal, Inc. v.

  VFM Leonardo, Inc., No. 09-60230, 2010 WL 107840, at *1 (S.D. Fla. Jan. 7, 2010). So

  Universal’s motion is due to be denied on this point. The jury’s determination of

  the breach issue will be resolve whether Universal terminated for cause and was

  granted the license.

                 D.      Damages

         The parties pose one more question in the event of a Universal breach. 9 The


         8 The provision provides for no further payment if Universal paid more for the third party
  to complete the attraction than it would have paid the Designer. (Doc. 63-1, p. 21.) The amount
  Universal paid the third party is not before the Court and the cost differential is disputed (see
  Doc. 141, p. 17), so this question remains for the jury in the event that it determines the Designer
  breached. (See Doc. 110, p. 7, ¶ 7; Doc. 143, p. 7, ¶ 7.)
         9 Many of the Designer’s allegations of Universal’s ongoing breaches (such as changes to




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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 12 of 18 PageID 10985




  Designer claims it may recover reasonable royalties and lost profits. (Doc. 63,

  ¶ 183.) Universal says otherwise, arguing that even if it breached, these damages

  are not recoverable under the MPA as a matter of law. (Doc. 109, p. 17; Doc. 149,

  p. 2.) The Court agrees with Universal.

         In a breach of contract action, “the purpose of compensation is to restore the

  injured party to the condition which he would have been in had the contract been

  performed.” Campbell v. Rawls, 381 So. 2d 744, 746 (Fla. 1st DCA 1980). The

  aggrieved party cannot receive a windfall—that is, “more than it bargained for.”

  24 Hr Air Serv., Inc. v. Hosanna Cmty. Baptist Church, Inc., 322 So. 3d 709, 713 (Fla.

  3d DCA 2021) (cleaned up). Consequential damages are those that proximately

  result from the breach and “were reasonably foreseeable by the breaching party at

  the time of contracting.” Keystone Airpark Auth. v. Pipeline Contractors, Inc., 266 So.

  3d 1219, 1223 (Fla. 1st DCA 2019). 10 “Florida courts allow parties to limit remedies

  contractually, and if such provisions are made, a court may not award greater


  work authorizations that did not comply with the MPA) do not appear actionable, as the
  Designer’s continued performance may have waived any argument that these breaches were
  material. See MDS (Canada) Inc. v. Rad Source Techs., Inc., 720 F.3d 833, 852 (11th Cir. 2013)
  (applying Florida law) (stating that “a material breach excuses a party from performance of the
  contract, although the injured party may waive the breach”). The only actionable breach alleged
  appears to be Universal’s purported wrongful termination. (Doc. 63, ¶¶ 139–49.) But neither party
  raised this issue for disposition, so the Court does not decide it at this juncture.
          10 If the Designer had sought to void the MPA and to be placed in the position it was in

  before entering it, damages are limited to the expenses it incurred before Universal breached and
  expenditures made in preparation for its performance. See Beefy Trail, Inc. v. Beefy King Int’l, Inc.,
  267 So. 2d 853, 856 (Fla. 4th DCA 1972). So while the Designer’s expenses may encompass unpaid
  invoices, it made no argument, and provided no evidence, to support a recovery of reasonable
  royalties or lost profits under this theory either.


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 13 of 18 PageID 10986




  compensatory damages.” TYR Tactical, LLC v. Protective Prod. Enterprises, LLC, No.

  15-cv-61741, 2016 WL 10647315, at *6 (S.D. Fla. Oct. 13, 2016), aff’d, 711 F. App’x

  968 (11th Cir. 2017).

         Here, damages under the contract are expressly limited to recovering any

  amount outstanding in work authorization orders. 11 (See Doc. 63-1, p. 22.) The

  MPA expressly precludes consequential damages. (See id. at 34 (including lost

  profits).) Because the contract limits damages to amounts owed on work

  authorizations and nothing else, allowing additional royalties or lost profits would

  serve as a windfall, putting the Designer in a better position than had Universal

  not wrongfully terminated. See TYR Tactical, 2016 WL 10647315, at *6. See generally

  Burger King Corp. v. Mason, 710 F.2d 1480, 1494 (11th Cir. 1983) (discussing the

  difference between IP remedies and contract remedies in Florida). As the MPA

  does not entitle the Designer to receive royalties or lost profits, 12 the Designer

  cannot recover them. 13 So Universal is entitled to summary judgment on this point.


         11   If Universal terminates for cause, the Designer would only be entitled to recover the
  difference, if any, of what it would have been entitled to receive and what a third party charged
  Universal to perform. (Doc. 63-1, p. 21.) If Universal terminates for convenience (or wrongfully
  terminates for cause), Universal must pay the Designer for completed work authorizations. (Id.
  at 4, 22 (defining “Compensation” as amounts due under work authorizations).)
           12 The Designer also moved for summary judgment on ownership of the IP and

  Universal’s ongoing use (see Doc. 118, pp. 20–21), but the Court is skeptical that these remain live
  issues in this case given its finding that the Designer is not entitled to royalties or lost profits.
  Regardless, the Designer’s bare-boned motion and arguments fail to address how licensing the
  IP affects ownership of the final work product, so it failed to meet its burden under Rule 56. (See
  Doc. 118.)
           13 The Designer relies on Biodynamic Technologies, Inc. v. Chattanooga Corp., 658 F. Supp. 266,

  268, 269 (S.D. Fla. 1987), in support of its assertion that even though the MPA does not provide


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 14 of 18 PageID 10987




         II.     Daubert

         The Court now turns to the Daubert motions.

         Since the Designer may not recover royalties or lost profits, expert opinions

  on IP-related issues are irrelevant. So the Designer’s motions to exclude the IP-

  related opinions of Justin V. Lewis 14 and James L. Glancey are due to be granted.

  (See Docs. 119, 120.) And Universal’s motions to exclude Dr. Hank Fishkind’s and

  Steven Becker’s opinions are due to be granted in part on those same grounds.

  (Docs. 109, 111.) So the Court need only address Universal’s arguments to exclude

  Fishkind’s and Becker’s non-IP opinions.

                 A.      Fishkind

         First, Universal argues that Fishkind’s opinions on unpaid invoices and

  interest should be excluded as unreliable and unhelpful. (Doc. 109, pp. 21–22.) The

  Court agrees.

          “An expert may not present testimony that merely ‘parrots’ the opinions of

  others, without providing an independent evaluation of the evidence.” Rebotix

  Repair, LLC v. Intuitive Surgical, Inc., No. 8:20-cv-2274, 2022 WL 3226794, at *4 (M.D.

  Fla. Aug. 10, 2022) (cleaned up); see MasForce Eur., BVBA v. MEC3 Co., No. 8:11-cv-



  for reasonable royalties, it may still recover them. (Doc. 143, p. 17.) But Biodynamic is inapplicable
  here, as that case applies Tennessee law and that plaintiff actually pled and proved a trade secret
  misappropriation claim. See Biodynamic, 658 F. Supp. at 269.
          14 The rest of Lewis’s expert opinions on contract-related damages may proceed as

  unchallenged. (See Doc. 135-6.)


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 15 of 18 PageID 10988




  1814, 2013 WL 12156469, at *5 (M.D. Fla. Dec. 4, 2013) (stating that expert testimony

  is improper when it has “no methodology and simply conveys information

  provided to the expert by an interested party”). And expert testimony that consists

  of a “simple arithmetic calculation is not beyond the understanding of the average

  lay person and therefore would not help the trier of fact.” LSQ Funding Grp., L.C.

  v. EDS Field Servs., 879 F. Supp. 2d 1320, 1336 (M.D. Fla. 2012).

         Here, there are several issues with Fishkind’s opinions. First, while opining

  on unpaid invoices, Fishkind merely assumed that all of the invoices the Designer

  provided to him were unpaid, rather than independently investigating whether

  they were actually outstanding, which is improper. (Doc. 109-3, pp. 61:25–62:19);

  see MasForce, 2013 WL 12156469, at *5. Second, Fishkind used a 6% interest rate to

  calculate the total amount due because that was what the Complaint alleged—but

  neither the Designer nor Fishkind identify any methodology or basis for this

  interest rate. 15 (Doc. 109-3, p. 53:15–22; see Doc. 145, pp. 22–23); Hendrix, 609 F.3d

  at 1194. And the MPA is silent on interest rate. (See Doc. 63-1.) Third, the Designer

  failed to show how Fishkind’s arithmetic calculation of adding up unpaid invoices

  and applying an interest rate is specialized knowledge that would help the jury.16


         15 While Fishkind testified that he believed the “judicial interest” rate in Florida was close
  to 6%, he offered no basis for this belief. (See Doc. 109-3, p. 54:1–3.) Even if he had, it is the
  Designer’s burden to show that its proffered expert’s methodology is sufficiently reliable, and it
  made no mention of this purported rate in its response. (See Doc. 145, pp. 21–22.)
         16 The Designer contends that Fishkind’s testimony is necessary to convert the MPA’s

  euros to dollars, but this is an improper ground for admitting expert opinions. See MasForce,


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Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 16 of 18 PageID 10989




  See LSQ, 879 F. Supp. 2d at 1336. So the Designer fails to meet its burden of

  establishing that Fishkind’s opinions are admissible, and Universal’s motion to

  exclude is due to be granted as to these opinions. See Kilpatrick, 613 F.3d at 1335.

  Fishkind will not be permitted to testify.

                B.     Becker

         Next, Universal moves to exclude Becker’s opinion that Universal, without

  approval, altered IP title blocks that described ownership and confidentiality on

  drawings. (Doc. 111, p. 24; Doc. 126, p. 34.) Universal seeks to exclude this opinion

  as unhelpful because it is conclusory and devoid of technical analysis. (Doc. 111,

  pp. 23–24.) The Court agrees. Expert testimony is generally unhelpful “when it

  offers nothing more than what lawyers for the parties can argue in closing

  arguments.” Cook ex rel. Est. of Tessier v. Sheriff of Monroe Cnty., 402 F.3d 1092, 1111

  (11th Cir. 2005). Here, the Designer only states in a conclusory fashion that the jury

  “needs assistance to determine technical issues,” without explaining how this

  opinion provides that assistance. (Doc. 144, p. 25.) So the Designer fails to meet its

  burden to show the admissibility of this opinion. See Kilpatrick, 613 F.3d at 1335.

  Becker will not be permitted to testify either.

                                     CONCLUSION

         Accordingly, it is ORDERED AND ADJUDGED:



  2013 WL 12156469, at *5.


                                            16
Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 17 of 18 PageID 10990




        1.    Universal’s motion for summary judgment (Doc. 110) is GRANTED

              IN PART AND DENIED IN PART:

              a.    The motion is GRANTED in that the Designer may not recover

                    reasonable royalties or lost profits.

              b.    The motion is also GRANTED in that the Inventor is not a

                    third-party beneficiary of the MPA as a matter of law and thus

                    may not bring the claims alleged. The Court will enter

                    judgment on Counts X and XI (Doc. 63, ¶¶ 270–82) in favor of

                    Universal and against the Inventor when the remaining claims

                    are resolved. The Inventor no longer has any live claims in this

                    case.

              c.    In all other respects, the motion is DENIED.

        2.    The Designer’s motion for partial summary judgment (Doc. 118) is

              DENIED. Universal provided the Designer with the requisite notice

              and an opportunity to cure as a matter of law.

        3.    Universal’s motion to exclude Fishkind’s opinions (Doc. 109) is

              GRANTED. Fishkind may not testify.

        4.    Universal’s motion to exclude Becker’s opinions (Doc. 111) is

              GRANTED. Becker may not testify.

        5.    The Designer’s motion to exclude Glancey’s opinions (Doc. 119) is



                                          17
Case 6:21-cv-00752-RBD-LHP Document 202 Filed 03/13/23 Page 18 of 18 PageID 10991




               GRANTED. Glancey may not testify.

          6.   The Designer’s motion to exclude Lewis’s opinions (Doc. 120) is

               GRANTED. Lewis may testify only about contract-related damages

               such as unpaid invoices and amounts due.

          DONE AND ORDERED in Chambers in Orlando, Florida, on March 13,

  2023.




                                        18
